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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     STANTICHA MIDDLETON
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )     NO. CR.S-11-360-WBS
11                                   )
                    Plaintiff,       )                 AMENDED
12                                   )      STIPULATION AND [PROPOSED] ORDER;
          v.                         )         CONTINUING STATUS CONFERENCE
13                                   )             AND EXCLUDING TIME
     STANTICHA MIDDLETON,            )
14   STEVEN ETHRIDGE,                )     Date: November 21, 2011
     PAUL MERCHANT,                  )     Time: 9:30 a.m.
15                                   )     Judge: Hon. William B. Shubb
                    Defendants.      )
16   _______________________________ )

17
          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, MICHELLE RODRIGUEZ, Assistant United States
19
     Attorney, CARO MARKS, attorney for STANTICHA MIDDLETON, DONALD P.
20
     DORFMAN, attorney for STEVEN ETHRIDGE, and ERIN RADEKIN, attorney for
21
     PAUL MERCHANT, that the status conference hearing date of October 24,
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     2011 be vacated, and the matter be set for status conference on
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     November 21, 2011 at 9:30 a.m.
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          The reason for this continuance is to allow the defense adequate
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     time to review the discovery, ascertain the need for research, witness
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     location, or additional investigation. A continuance will also allow
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     the defendants adequate time to finish reading the discovery, during
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 1   which time they will confer with defense counsel about the case. After
 2   conferring with the defendants, defense counsel need time o explore
 3   possible defenses and to analyze the sentencing guidelines that relate
 4   to the case.
 5        At the same time, the government is preparing plea offers and is
 6   preparing to make those offers to the defense. A continuance will give
 7   counsel time to receive the proposed plea agreements and then to review
 8   them with the defendant.
 9        Counsel advise the court that the parties believe the cases will
10   settle, but that no such settlement is possible until both counsel and
11   the defendants have reviewed the discovery and conferred as described
12   above.
13        Based upon the foregoing, the parties agree that the time under
14   the Speedy Trial Act should be excluded from the date of signing of
15   this order through and including November 21, 2011 pursuant to 18
16   U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local
17   Code T4, for counsels’ preparation. Counsel also stipulate that the
18   ends of justice to be served by granting this continuance outweigh the
19   best interests of the public and the defendants in a speedy trial.
20
     DATED:    October 25, 2011.                     Respectfully submitted,
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                                                     DANIEL J. BRODERICK
22                                                   Federal Public Defender
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24                                                   /s/ Caro Marks
                                                     CARO MARKS
25                                                   Designated Counsel for Service
                                                     Attorney for Stanticha Middleton
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27                                                   /s/ Caro Marks for
                                                     DONALD P. DORFMAN
28                                                   Attorney for Steven Ethridge


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 1                                                   /s/ Caro Marks for
                                                     ERIN RADEKIN
 2                                                   Attorney for Paul Merchant
 3
 4   DATED:    October 25, 2011.                     BENJAMIN WAGNER
                                                     United States Attorney
 5
 6
                                                     /s/ Caro Marks for
 7                                                   MICHELLE RODRIGUEZ
                                                     Assistant U.S. Attorney
 8                                                   Attorney for Plaintiff
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 2                                       ORDER
 3        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
 4   ordered that the October 24, 2011,          status conference hearing be
 5   continued to November 21, 2011, at 9:30 a.m.          Based on the
 6   representation of defense counsel and good cause appearing there from,
 7   the Court hereby finds that the failure to grant a continuance in this
 8   case would deny defense counsel reasonable time necessary for effective
 9   preparation, taking into account the exercise of due diligence.            The
10   Court finds that the ends of justice to be served by granting a
11   continuance outweigh the best interests of the public and the defendant
12   in a speedy trial.      It is ordered that time up to and including the
13   November 21, 2011 status conference shall be excluded from computation
14   of time within which the trial of this matter must be commenced under
15   the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv)
16   and Local Code T-4, to allow defense counsel reasonable time to
17   prepare.
18   Dated:   October 24, 2011

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